             Case 24-70091-JAD                  Doc 2       Filed 03/11/24 Entered 03/11/24 07:30:52                              Desc Main
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Fill in this information to identify your case:
Debtor 1               Cheri E Morgan
                          First Name      Middle Name                 Last Name
                                                                                                                                       24-70091
Debtor 2
(Spouse, if filing) First Name      Middle Name                       Last Name
United States Bankruptcy Court for the:                    WESTERN DISTRICT OF                                      Check if this is an amended plan, and
                                                             PENNSYLVANIA

                                                                                                                    list below the sections of the plan that
Case number:                                                                                                        have been changed.
(If known)




Western District of Pennsylvania
Chapter 13 Plan Dated: March 11, 2024

Part 1:       Notices

To Debtor(s):           This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                        indicate that the option is appropriate in your circumstances. Plans that do not comply with local rules and judicial
                        rulings may not be confirmable. The terms of this plan control unless otherwise ordered by the court.

                        In the following notice to creditors, you must check each box that applies

To Creditors:           YOUR RIGHTS MAY BE AFFECTED BY THIS PLAN. YOUR CLAIM MAY BE REDUCED, MODIFIED, OR
                        ELIMINATED.

                        You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have
                        an attorney, you may wish to consult one.

                        IF YOU OPPOSE THIS PLAN’S TREATMENT OF YOUR CLAIM OR ANY PROVISION OF THIS PLAN, YOU OR
                        YOUR ATTORNEY MUST FILE AN OBJECTION TO CONFIRMATION AT LEAST SEVEN (7) DAYS BEFORE THE
                        DATE SET FOR THE CONFIRMATION HEARING, UNLESS OTHERWISE ORDERED BY THE COURT. THE COURT
                        MAY CONFIRM THIS PLAN WITHOUT FURTHER NOTICE IF NO OBJECTION TO CONFIRMATION IS FILED.
                        SEE BANKRUPTCY RULE 3015. IN ADDITION, YOU MAY NEED TO FILE A TIMELY PROOF OF CLAIM TO BE
                        PAID UNDER ANY PLAN.

                        The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether the plan
                        includes each of the following items. If the “Included” box is unchecked or both boxes are checked on each line, the provision
                        will be ineffective if set out later in the plan.

1.1          A limit on the amount of any claim or arrearages set out in Part 3, which may result             Included                  Not Included
             in a partial payment or no payment to the secured creditor (a separate action will be
             required to effectuate
             such limit)
1.2          Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,              Included                  Not Included
             set out in Section 3.4 (a separate action will be required to effectuate such limit)
1.3          Nonstandard provisions, set out in Part 9                                                        Included                  Not Included


Part 2:       Plan Payments and Length of Plan

2.1          Debtor(s) will make regular payments to the trustee:

             Total amount of $1145 per month for a remaining plan term of 36 months shall be paid to the trustee from future earnings as follows:
      Payments: By Income Attachment                  Directly by Debtor                                        By Automated Bank Transfer
      D#1          $                                  $ 1,145.00                                                $
      D#2          $                                  $                                                         $
      (Income attachments must be used by Debtors having attachable income)                                     (SSA direct deposit recipients only)

2.2 Additional payments.

                        Unpaid Filing Fees. The balance of $        shall be fully paid by the Trustee to the Clerk of the Bankruptcy court form the first

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                     available funds.


      Check one.

                     None. If “None” is checked, the rest of § 2.2 need not be completed or reproduced.

2.3         The total amount to be paid into the plan (plan base) shall be computed by the trustee based on the total amount of plan payments
            plus any additional sources of plan funding described above.

Part 3:     Treatment of Secured Claims

3.1         Maintenance of payments and cure of default, if any, on Long-Term Continuing Debts.

            Check one.

                    None. If “None” is checked, the rest of Section 3.1 need not be completed or reproduced.
                    The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
                    required by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed by the
                    trustee. Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee, without interest. If relief
                    from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless otherwise ordered by the court,
                    all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral will no longer be
                    treated by the plan. If monthly payment changes exist, state the amounts and effective dates of the changes.

Name of creditor and redacted account Collateral                                    Current installment            Amount of arrearage Start date
number                                                                              payment                        (if any)            (MM/YYYY)
                                                                                    (including escrow)
                                               230 France Street
                                               Sproul, PA 16682 Blair
 Select Portfolio Servicing                    County
 0019430545                                    Appraised Value                                       $860.00                      $0.00
Insert additional claims as needed.

3.2         Request for valuation of security, payment of fully secured claims, and modification of undersecured claims.

            Check one.

                     None. If “None” is checked, the rest of Section 3.2 need not be completed or reproduced.

                 Fully paid at contract terms with no modification
Name of creditor and redacted account Collateral                                                  Amount of secured        Interest rate Monthly
number                                                                                            claim                                  payment to
                                                                                                                                         creditor

-NONE-


                 Fully paid at contract terms with no modification
Name of creditor and redacted account Collateral                                                  Amount of secured        Interest rate Monthly
number                                                                                            claim                                  payment to
                                                                                                                                         creditor

-NONE-

       The remainder of this paragraph will be effective only if the applicable box in Part 1 of this plan is checked.

       For each secured claim listed below, the debtor(s) state that the value of the secured claims should be as set out in the column headed Amount of
       secured claim. For each listed claim, the value of the secured claim will be paid in full with interest at the rate stated below. The portion of any
       allowed claim that exceeds the amount of the secured claim will be treated as an unsecured claim under Part 5. If the amount of a creditor’s
       secured claim is listed below as having no value, the creditor’s allowed claim will be treated in its entirety as an unsecured claim under Part 5
       (provided that an appropriate order of court is obtained through a motion pursuant to Rule 3012).



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Name of            Estimated          Collateral       Value of            Amount of claims Amount of secured            Interest rate Monthly
creditor and       amount of                           collateral          senior to        claim                                      payment to
redacted           creditor's                                              creditor's claim                                            creditor
account            total claim
number             (see Para. 8.7
                   below)
                                      230 France
Wilmingto                             Street
n Savings                             Sproul, PA
Fund                                  16682 Blair
Society                               County
00003921           $28,951.9          Appraised
75                 6                  Value            $36,000.00              $34,977.53                $1,022.47           0.00%                $146.07

Insert additional claims as needed.

 3.3       Secured claims excluded from 11 U.S.C. § 506.

      Check one.
                     None. If “None” is checked, the rest of Section 3.3 need not be completed or reproduced.

3.4        Lien avoidance.

Check one.
                     None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced. The remainder of this section will be
                     effective only if the applicable box in Part 1 of this plan is checked

3.5        Surrender of collateral.

           Check one.

                     None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

3.6        Secured tax claims.

Name of taxing authority            Total amount of claim   Type of tax                  Interest Rate* Identifying number(s) if         Tax periods
                                                                                                        collateral is real estate


-NONE-

Insert additional claims as needed.

* The secured tax claims of the Internal Revenue Service, Commonwealth of Pennsylvania and any other tax claimants shall bear interest at the
statutory rate in effect as of the date of confirmation.

Part 4:     Treatment of Fees and Priority Claims

4.1        General

           Trustee’s fees and all allowed priority claims, including Domestic Support Obligations other than those treated in Section 4.5, will be paid
           in full without postpetition interest.

4.2        Trustee’s fees

           Trustee’s fees are governed by statute and may change during the course of the case. The trustee shall compute the trustee’s percentage fees
           and publish the prevailing rates on the court’s website for the prior five years. It is incumbent upon the debtor(s)’ attorney or debtor (if pro
           se) and the trustee to monitor any change in the percentage fees to ensure that the plan is adequately funded.

4.3        Attorney's fees.

           Attorney’s fees are payable to James M. McClure, Esquire 80103. In addition to a retainer of $1,250.00 (of which $ 0.00 was a
           payment to reimburse costs advanced and/or a no-look costs deposit) already paid by or on behalf of the debtor, the amount of $2,250.00
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          is to be paid at the rate of $173.08 per month. Including any retainer paid, a total of $ 3,500.00 in fees and costs reimbursement has
          been approved by the court to date, based on a combination of the no-look fee and costs deposit and previously approved application(s) for
          compensation above the no-look fee. An additional $ 0.00 will be sought through a fee application to be filed and approved before
          any additional amount will be paid through the plan, and this plan contains sufficient funding to pay that additional amount, without
          diminishing the amounts required to be paid under this plan to holders of allowed unsecured claims.

             Check here if a no-look fee in the amount provided for in Local Bankruptcy Rule 9020-7(c) is being requested for services rendered to
          the debtor(s) through participation in the court’s Loss Mitigation Program (do not include the no-look fee in the total amount of
          compensation requested, above).

4.4       Priority claims not treated elsewhere in Part 4.

                    None. If “None” is checked, the rest of Section 4.4 need not be completed or reproduced.

Name of creditor and redacted account Total amount of claim                                     Interest rate (0% if blank)       Statue providing
number                                                                                                                            priority status
Internal Revenue Service
                                                                               $3,235.50                             0.00%        11 U.S.C. 507(a)(9)
Insert additional claims as needed

4.5       Priority Domestic Support Obligations not assigned or owed to a governmental unit.

                    None. If “None” is checked, the rest of Section 4.5 need not be completed or reproduced.

4.6       Domestic Support Obligations assigned or owed to a governmental unit and paid less than full amount.
          Check one.
                  None. If “None” is checked, the rest of § 4.6 need not be completed or reproduced.



4.7       Priority unsecured tax claims paid in full.

                    None. If “None” is checked, the rest of Section 4.7 need not be completed or reproduced.

4.8       Postpetition utility monthly payments.

The provisions of this Section 4.8 are available only if the utility provider has agreed to this treatment. The charges for post petition utility service
are allowed as an administrative claim. These payments comprise a single monthly combined payment for postpetition utility services, any
postpetition delinquencies, and unpaid security deposits. The claim payment will not change for the life of the plan unless amended. Should the
utility obtain an order authorizing a payment change, the debtor(s) will be required to file an amended plan. These payments may not resolve all
of the postpetition claims of the utility. Any unpaid post petition utility claims will survive discharge and the utility may require additional funds
from
the debtor(s) after discharge.

Name of creditor and redacted account          Monthly payment                                           Postpetition account number
number
-NONE-


Insert additional claims as needed.

Part 5:    Treatment of Nonpriority Unsecured Claims

5.1       Nonpriority unsecured claims not separately classified.

          Debtor(s) ESTIMATE(S) that a total of $0.00 will be available for distribution to nonpriority unsecured creditors.

          Debtor(s) ACKNOWLEDGE(S) that a MINIMUM of $4.79 shall be paid to nonpriority unsecured creditors to comply with the
          liquidation alternative test for confirmation set forth in 11 U.S.C. § 1325(a)(4).

          The total pool of funds estimated above is NOT the MAXIMUM amount payable to this class of creditors. Instead, the actual pool of funds
          available for payment to these creditors under the plan base will be determined only after audit of the plan at time of completion. The
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          estimated percentage of payment to general unsecured creditors is 0.00%. The percentage of payment may change, based upon the total
          amount of allowed claims. Late-filed claims will not be paid unless all timely filed claims have been paid in full. Thereafter, all late-filed
          claims will be paid pro-rata unless an objection has been filed within thirty (30) days of filing the claim. Creditors not specifically
          identified elsewhere in this plan are included in this class.

5.2       Maintenance of payments and cure of any default on nonpriority unsecured claims.

Check one.

                   None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3       Other separately classified nonpriority unsecured claims.

          Check one.

                   None. If “None” is checked, the rest of § 5.4 need not be completed or reproduced.

Part 6:   Executory Contracts and Unexpired Leases

6.1       The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
          contracts and unexpired leases are rejected.

          Check one.

                   None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.



Part 7:   Vesting of Property of the Estate

7.1       Property of the estate shall not re-vest in the debtor(s) until the debtor(s) have completed all payments under the confirmed plan.

Part 8:   General Principles Applicable to All Chapter 13 Plans

8.1       This is the voluntary chapter 13 reorganization plan of the debtor(s). The debtor(s) understand and agree(s) that the chapter 13 plan may be
          extended as necessary by the trustee (up to any period permitted by applicable law) to insure that the goals of the plan have been achieved.
          Notwithstanding any statement by the trustee’s office concerning amounts needed to fund a plan, the adequacy of plan funding in order to
          meet the plan goals remains the sole responsibility of debtor(s) and debtor(s)’ attorney. It shall be the responsibility of the debtor(s) and
          debtor(s)’ attorney to monitor the plan in order to ensure that the plan remains adequately funded during its entire term.

8.2       Prior to the meeting of creditors, the debtor(s) shall comply with the tax return filing requirements of 11 U.S.C § 1308 and provide the
          trustee with documentation of such compliance by the time of the meeting. Debtor(s)’ attorney or debtor(s) (if pro se) shall provide the
          trustee with the information needed for the trustee to comply with the requirements of 11 U.S.C. § 1302 as to the notification to be given to
          Domestic Support Obligation creditors, and debtor(s)’ attorney or debtor(s) (if pro se) shall provide the trustee with the calculations relied
          upon to determine the debtor(s)’ current monthly income and disposable income.

8.3       The debtor(s) shall have a duty to inform the trustee of any assets acquired while the chapter 13 case is pending, such as insurance
          proceeds, recovery on any lawsuit or claims for personal injury or property damage, lottery winnings, or inheritances. The debtor(s) must
          obtain prior court approval before entering into any postpetition financing or borrowing of any kind, and before selling any assets.

8.4        Unless otherwise stated in this plan or permitted by a court order, all claims or debts provided for by the plan to receive a distribution shall
          be paid by and through the trustee.

8.5       Percentage fees to the trustee are paid on receipts of plan payments at the rate fixed by the United States Trustee. The trustee has the
          discretion to adjust, interpret, and implement the distribution schedule to carry out the plan, provided that, to the extent the trustee seeks a
          material modification of this plan or its contemplated distribution schedule, the trustee must seek and obtain prior authorization of the
          court. The trustee shall follow this standard plan form sequence unless otherwise ordered by the court:

          Level One:          Unpaid filing fees.
          Level Two:          Secured claims and lease payments entitled to 11 U.S.C. § 1326(a)(1)(C) pre-confirmation adequate protection
                              payments.
          Level Three:        Monthly ongoing mortgage payments, ongoing vehicle and lease payments, installments on professional fees, and
                              postpetition utility claims.
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          Level Four:          Priority Domestic Support Obligations.
          Level Five:          Mortgage arrears, secured taxes, rental arrears, vehicle payment arrears.
          Level Six:           All remaining secured, priority and specially classified claims, and miscellaneous secured arrears.
          Level Seven:         Allowed nonpriority unsecured claims.
          Level Eight:         Untimely filed nonpriority unsecured claims for which an objection has not been filed.

8.6       As a condition to the debtor(s)’ eligibility to receive a discharge upon successful completion of the plan, debtor(s)’ attorney or debtor(s) (if
          pro se) shall file Local Bankruptcy Form 24 (Debtor’s Certification of Discharge Eligibility) with the court within forty-five (45) days after
          making the final plan payment.

8.7        The provisions for payment to secured, priority, and specially classified unsecured creditors in this plan shall constitute claims in
          accordance with Bankruptcy Rule 3004. Proofs of claim by the trustee will not be required. In the absence of a contrary timely filed proof
          of claim, the amounts stated in the plan for each claim are controlling. The clerk shall be entitled to rely on the accuracy of the information
          contained in this plan with regard to each claim. Unless otherwise ordered by the court, if a secured, priority, or specially classified creditor
          timely files its own claim, then the creditor’s claim shall govern, provided the debtor(s) and debtor(s)’ attorney have been given notice and
          an opportunity to object. The trustee is authorized, without prior notice, to pay claims exceeding the amount provided in the plan by not
          more than $250.

8.8       Any creditor whose secured claim is not modified by this plan and subsequent order of court shall retain its lien.

8.9       Any creditor whose secured claim is modified or whose lien is reduced by the plan shall retain its lien until the underlying debt is
          discharged under 11 U.S.C. § 1328 or until it has been paid the full amount to which it is entitled under applicable nonbankruptcy law,
          whichever occurs earlier. Upon payment in accordance with these terms and entry of a discharge order, the modified lien will terminate and
          be released. The creditor shall promptly cause all mortgages, liens, and security interests encumbering the collateral to be satisfied,
          discharged, and released.

8.10      The provisions of Sections 8.8 and 8.9 will also apply to allowed secured, priority, and specially classified unsecured claims filed after the
          bar date. LATE-FILED CLAIMS NOT PROPERLY SERVED ON THE TRUSTEE AND THE DEBTOR(S)’ ATTORNEY OR
          DEBTOR(S) (IF PRO SE) WILL NOT BE PAID. The responsibility for reviewing the claims and objecting where appropriate is placed
          upon the debtor(s).

Part 9:    Nonstandard Plan Provisions

9.1       Check "None" or List Nonstandard Plan Provisions
                 None. If “None” is checked, the rest of Part 9 need not be completed or reproduced.

Part 10: Signatures:

10.1      Signatures of Debtor(s) and Debtor(s)’ Attorney

By signing this plan the undersigned, as debtor(s)’ attorney or the debtor(s) (if pro se), certify(ies) that I/we have reviewed any prior confirmed
plan(s),order(s) confirming prior plan(s), proofs of claim filed with the court by creditors, and any orders of court affecting the amount(s) or
treatment of any creditor claims, and except as modified herein, this proposed plan conforms to and is consistent with all such prior plans, orders, and
claims. False certifications shall subject the signatories to sanctions under Bankruptcy Rule 9011.

By filing this document, debtor(s)’ attorney or the debtor(s) (if pro se), also certify(ies) that the wording and order of the provisions in this chapter
13 plan are identical to those contained in the standard chapter 13 plan form adopted for use by the United States Bankruptcy Court for the
Western District of Pennsylvania, other than any nonstandard provisions included in Part 9. It is further acknowledged that any deviation from
the standard plan form shall not become operative unless it is specifically identified as “nonstandard” terms and are approved by the court in a
separate order.

X      /s/ Cheri E Morgan                                                 X
       Cheri E Morgan                                                            Signature of Debtor 2
       Signature of Debtor 1

       Executed on    March 11, 2024                                             Executed on

X      /s/ James M. McClure, Esquire                                      Date     March 11, 2024
       James M. McClure, Esquire 80103
       Signature of debtor(s)' attorney




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